Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 1 of 14 Page ID #:1
       II
   1        STEVEN J. ROTHANS - State Bar No. 106579
            JILL WILLIAMS - State Bar No. 221793
   2        CARPENTER, ROTHANS & DUMONT
            888 S. Figueroa Street, Suite 1960
   3        Los Angeles, CA 90017
            (213) 218-0400 I (213) 228-0401 [Fax]
   4        srotlians@crdlaw.com I jwiHiams@cnUaw.com
   5        Attorneys for Defendants,
            City of Upland, Officer Lavelle Brown,
   6        and Officer Eric Widen
   7
   8                            UNITED STATES DISTRICT COURT
   9                           CENTRAL DISTRICT OF CALIFORNIA
  10
  11        HARSHOD MEHTA, an individual;              Case No.:
            and KAUSHIKA MEHTA, an
  12        individual,                                NOTICE OF REMOVAL OF
                                                       ACTION
  13                    Plaintiffs,
                                                       [28 U.S.C. § 1441
  14              vs.                                  (Federal Question)]
  15        ERIC WIDEN, an individual; LAVELL
            BROWN, an individual; JAMES
  16        HAROLD BELL III, an individual; and
            CITY OF UPLAND, a public entity;
  17        and DOES 1 through 50, inclusive,
  18                    Defendants.
  19
  20              TO THE CLERK OF THE ABOVE-ENTITLED COURT:
  21              PLEASE TAKE NOTICE that Defendants, City of Upland and Officer Eric
  22        Widen and Officer Lavelle Brown, hereby remove to the United States District
  23        Court, Central District of California the state comi action described below.
  24              l.    On or about March 13,2015, an action was commenced in the County
  25        of San Bernardino Superior Court, entitled Harshod Mehta, et al. v. Eric Widen, et
  26        a!., bearing case number ClV DS1503538. Attached hereto as Exhibit "A" is a
  27        copy ofthe original Complaint that was filed in this action.
  28        11/
                                              - 1-
                                  NOTICE OF REMOVAL OF ACTION
Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 2 of 14 Page ID #:2
       II

   1              2.     Defendant City of Upland was served with this action on May 15,
   2        2015. Defendants Eric Widen and Lavelle Brown were also served with this action
   3        on or about May 15,2015.
   4              3.     To the knowledge of these defendants, no other defendant has been
   5        served.
   6              4.     This action is a civil action of which this Court has original
   7        jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this
   8        Court by the defendant pursuant to the provisions of 28 U.S.C. § 1441 (b) and (c),
   9        in that it involves claims for violations of 42 U.S.C. § 1983.
  10              5.     To the knowledge ofthese removing defendants, aU named
  11        defendants who have been served with the Summons and Complaint in this action
  12        join in this Notice of Removal.
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            DATED: June 12,2015                         CARPENTER, ROTHANS & DUMONT
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                                           (            STEVEN J. ~N's"
  17                                       \            JILL WILLIAMS
                                            \'\',       Attorneys for Defen nts,
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  19                                                    Officers Eric Widen and Lavelle Brown
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                                  NOTICE OF REMOVAL OF ACTION
Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 3 of 14 Page ID #:3




              EXHIBIT "A"
Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 4 of 14 Page ID #:4
     06-12-15;04:11PM;                                                                                                             .1-310-21a-49ao                         ;IIi   2/   14




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             16     caused by slriking the ground after helng violently pulled form his vehicle. Tim responsible
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                t9         mill ,,!mtinuc to cause plulillil'l'g'es[ meillal, physical. WlU nervous pain llnd suf!erlng. Plainlii'f is
                20         inf\l,,!ned an<i hclicvcs ,,",lthereby .lIeg"" thal said il1iurios wJll resull in permanenl disability !n
                21         "luinllfl: all II) piaintirr" generol ""ml\g" 111 an amuunl In c"ce~s uru", minimum jurisdictlullul
                22         limits "nhis ('ourt.
                ?-3                      16.         Aa t\ further tli~cl UI'U! pl'OXimUlc .result uflou n.egli~cl'100 or tictUt'H.lUI\ls. p:JuinliJr
                7.4        HUl1lhOd M.nl" h.~ incurred and will in the lulure incur c.~jlenses lot surgery, oospltalb<,aUon.
                ?5         examination, cure "nd (re..lmen(" fhis injurio•. !h~ Cl<tIC! nt1ture Ilnd ""ICOI ofwilil:h are unknuwn
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                7.7

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Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 9 of 14 Page ID #:9



   :                                         .                                                •
         1    to plainlilh! ~lis time.
         :2              17.      As a furthcr ilir",,' lind pro~il1l.!" IIlSU!! oitile il~g.lillcnc" ami cQn::I"ssn~ III'
         3    acl1:mlsll(s Qml uuch of Ihe111, pl8lnllfl'llul'Sliod MoM.. will be Ulluble 10 pun;". hi~ vu."tin", II"']
         4    hu" heCI! ullilh!. !UIUIl hi. businl::ls. Wld lIus [ilcrclorc, "ulTered al1ti will ~tlrr"r In the (U'"ro. II
         5    luss ,,[, cal'Oing.~ nnd earning curacil), !lllUI)mfiIS, IIml hlL~ "Iso lncurrod losscN, th. exac! ummmi
         6    orwhlch is tmkn!lw!i III "1,,intiJ'C,,( Ihis time,
         ./              18.    . As ul\Jrilicr «IiI'cel Dnd proximate re.~IlI[ "I' the ncgligence nnd cnrci""sl1ess of
         8    dcl'cmiullls and enGh oflhem, pluintiffnllfffhod Mehlo hllH flulTered p1'llpcny/loss "rWlC damag~
         9    in an IImount III 00 IMcrmillcd III trial.
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       12                                                           (Bi\TI'ERYI

       13                                        (llarshod Mehta v, Luvell Brown. Eric Wide".

       l~                                           IIIllI Cily IlI'!Jpluml and DOE oielemJIIlII!;)
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       16                19.      Plnintill;' rCl"lut and rca liege nil of !h~ nl1<lgllli<,ns cllllluincd in pUl'IIJlI'!l)'lhs 1
       11     through 18       UhllVllIlll   irrully sei ('orth hcrein.
       1a             20,         Olll'cbruury 18. 2014. ("Ii'''';''l! the uhove du.cribcd collisi..n. It City of Ulllund
       19     police ome~r. Eric Widen and/or Lavell lll'OWI1 Dnd !'JOE <lcfoodunls. forcibly. violently MU
       20     unnecessarily )'lulled IIllt.hod MeMo r,'om his vehicle causing J hmihod MehlO III strike the
       21     gl1lund,    I[.",llll~   Mehtn's [lrincipl~ physical injury is to his orn, and hand and WI1S eausoo by
       22     sirilting Ihe grolUld .ner b~in!\ violClllly pulled rorm his venidc. Olliccrs Brov.1l uml Wid~n
       23     WUN m:ting in Un: ctlUfSC ami scupc oflhdrcmploymcnl wilh (he ('ity afl..lvlaru..l u.L                   l'h~ till'll!   uf

       :1 4   the inddenl.
                     21.          In doing Ihe uel~ as alleged ubovo. Dcfondllnlj intended In cause hnrmfulond


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Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 10 of 14 Page ID #:10
                                                                                        ; 1-310-219-4:;;'90




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                                        •                                          •
           1   offensive cOillecl wilh Plaintiffs' I"'rson,
           2            22,     As a rcsult of Defendants' Bcts as ailesod aoove. Defendants. ill fae!, did callSC
           ~   harmllAl .nd offensive contnct with I'lain!ilTs' person,
           4            23.     As 8 dir.clllI1d lll"Q><imalo 1'.BUlt unCle ncgli&cnce ofDor.ndanls, plaintiff
           5   Hlln!hod Mehta was hurl and injured ill his health. strenglh, and activity, s1.IStaininit injury 10 his
           6   body nnd shock and injury l<1 his nervous syslem and person, all "fwhicb il\iuries hall" cau~'Cd
           7   and continue to cause plaintiff gr<!fll menial. physical. and nervous pain and suffering. Plaintiff i,
           e   informed Qnd bofieve~ !lnd thereby !lIlCb'C~ lhal said injuries will result in pemmnonl disability 10
           9   plaintiff. all 10 plaintiff'll general d'lmngc In un amount in exccss oftl1e minimum jurisdictional
          10   Iimilll of this Court,
          11            24.    As a further direct alld proximate resull oftlle negligence of defendants, plaintiff
          12   Harshod Mehta hIlS incurred and will in the futtlre incur expenses for sllrgery. hospitalizatiOlt,
          13   exam illation, care and treatment of his i,~urics, d,C exact natllre and extent ofwhich are unkJlown

          14   [0   piainmhl this Ume.
          15            25.    As II furlher direct alld praxillll\tc result oflho negligonce lind carelessness of
          16   defendnn18 and each ol'them, Jl!aintiJrHa,~hod :vJehla will be unable to pursue his vocalioll, and
          17   has beon unuble to run his business, and has lhcrclbro, sutTered and will suirer in the fUlure, II
          18   loss of earnings am! em1linll caplicily and protils. lind has also incurred losses, the .XflC! amount
          19   of which Is unknown to plaintitiul !hi. time.
          20            26.    As a further di,ccland proxinlllie l'esult of !he negligence and curclcssuess of
          21   defendants and each ofthcnl. plaintiffHarshuu Mehta has suffered propertylloss of usc damage
          22   in all !UnOIU!t to be determined at fda!.
          23   II
          24
          25   1/
          26
          27
                        complaint'for Negligence and Loss of Consortium
          28                                                      6
    Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 11 of 14 Page ID #:11
      OB--l..!·   I"' .. ::)~   .j   1PM.                                                                           ; 1-3"1 0-.218-4980            rt   9/   14

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                                                            l'ijllUlCAUliEOF,\CTlQNAQAiNST AI.LI.lEFF.:NIlANTS
                                                                          N1Y,!U;. 12l!lltXCE."isnot EOHCE.!
                                                                       (Hl!l"Sbod Mehta v. tsvclll3rowIl, Uric Widell.
                                                                          ond Cily afUplal1d and DOE defendants)


                     5:                     21.             PlajnHliropools una real leg". all "/'tfle allegillion. conlalned ill pDt'Ilgraph~ 1
                     7          truough 26 abave Ill> if fully set forth herein.
                     B                      2R.            42, !,J$,c. SECTION 1981 Dclcndun[s. aeling tinder color afslllle low.
                     9          willfully. intenlional!y. knowingly. malicfllu~ly ond concortedly deprived I'lail'llifi'ofrights and
                  10            privileges and irru'l1unities sccured by tile Constrrutiol1 and Inws onhe Untied States, includinl',
                   11           the /lourih. EighUt and Fourteenth A.mclldmcnt~, proximately causil1lllhe damagC8 Mrein
                  12            claimed. by jnler alia:
                                            (11)           On l'ebruary 18,2014. follOWing the above described collision, a City of Upland
                  14            police officer, Eric Widen amY!H' Lavell Brown BUt! DOH defe11dnnts. forcibly. vio!enUy and
                  15            ullncccss!ll'ily pulled Hsrshod Mcota [\:om his vehicle causill!l HarshmJ Mehta 10 Sl.rike !he
                  16            ground. Hnrshod Mchw's principal physical injury is 10 his arm Ill'IO hund and was caused by
                  17            striking the ground ..ftC!' being violently pulled form his vellicl".              Officer~   Browll and Widen
                  18            were !lcting in the cours" Md scope ofthoir employment with the City ol'Upland at the time of
                  19            !.he incident.
                  20                        29.            As a direct and proximate 1'C.~ull anhe negligence arDcfendant~, plaintiff
                  21            Uarshod Meblll was hurt and injured in hi. health. sh'ong!h. Dod activity. sustaining injury to hi.
                  22            body and shoek and injury to his nervous system Ulld person. an ofwlllchil1lurlcs have caused
                  23            ""d conLi,,"e to cause p!>lintlJ1 !¥real mOlltal. physic:al, and norvou. pain and sul'r~'fi,,!!. 1'Iulnl.ll'l'is

                  24            informed Md believes and theroby alleges that said i!\iuJio$ will TCllult ill permMent dlStlbility!o
                  25            pll<intiff. all to plaintiffs general dama!!e in an amc)\mt in excess oftha minimum jurisdictional
                  26
                  27
                                            complaintfor. Negligence and Loss of Consortium
                  28                                                                            7
Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 12 of 14 Page ID #:12
  05-12-15;04   11PM;                                                                       :1-3'0-218-4980                   #:   10./   14




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            1    lim;l. "finis Co",t.
            2            30.
            3    Ha",hod M.hlll hus j"cum:<i .nd will in 100 lui"'" incur eXI"'"s •• lb, surgery, h".piLali~"!I(m,
            ~    L"'WI1in.litl", c.", Imu 1'''''lmenl "Chis i.juri.·•• lo. C""ct "alure .n<l.XI~nt "fwhich nro "nknuwn
            5    10 plainliff allhis limo.
            6            J I.    As" further direct ~nd proxim<lic resuit of Ille negligence "nd ..",Iessness of
            1    defe"d.nls and ench oflltcn>. pl.illliffll.rmod Meht. will he lInnble!(I pUrs"e hi. ""calion.• nd
            a    11 •• been "".bl. 10 "Ill his business, and ... liI.rofor., s.fl'ooOO and will suffer in   ~,c   fulure. n
            9    10"" "rdrtlOot!' .lId c.ming capacity and profit, ••nd ""s .Iso incurred loSo''''. tlte e".ol.mouill
           10    ofwltich is unknown to piaillliffal Ibis lime.
           11            32.     A •• further direct.od proximate msult ofthe negligence and ClIrcless"ess "I'
           !2    d.fend.IIIs and "'Je!; "I' Ih""', plainliff Ha,,"od MellI« has "uil.red property/l".. "I' use dumago
           13    101 an "mount tIl be uCICrmi"ed ullri.1.
           14
           15                      !lQUlU" CAllSi': OF ACFION AGAINST I)F;FENI)ANTS

           16                                         (WSS OF CONSORTIUM)

           17                            (By I'lainliffKaushiko Mehto ogain,lon Defendants)

           HI
           19            33.     j'lainliffs reallege as liI"ugl> fully sct forti' and incorporale hc",in by refero.lcc all
           20    of Ihe uU~gati"nsand st21emelliS contained ill pardllraphs ! through 32. inclusivo.
                         34.     Al uillimes mentio".<1 herein. pJII;lIliffs llarsllod MellI. IIJId Kuu,.hib Mehta

           22    were and are each olhelli' law I,,! spouses pursmlOllo the laws oflil. State of C:~lifomia.
                         35.

           2~    and ••cb oftne"" ond tho injuri•• surr...d by 1I.rsho~ Ment ... s ""I forth herein. plaintiff
           25    Kawhika Mehta h., "uffered lile 10..      or ca",. comforl. society. COIl"3"1, scrvioos and """••rtium
           26
           27
                         complaInt~·for Negligence;~ and Loss of Consortium
           28                                                        6
Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 13 of 14 Page ID #:13
  O$-12-15;04;11PM;                                                                             ;1-310-216-4.980         #    t'l ....   14




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             2           WI lllRHI'ORI!. p!ajn!iff.~ IlARSmm MEI'ITA and !(AUSHfKA MEHTA. P"'Y
             3   judgment "lloillS! dofcndants ERIC WIDEN. I.A IIEI.L !lROWN.JAMES HAROI.D FIE!.!, m.
             4   CITY en' Ul'LAND, and DOES', through SO !IS follows:

             5
             6           1.      As It> all Ca"ses of Acliun. J'1Ir actual d.ll1.~e. according to proof;
             1           2.      1\.10 .iI Caus•• of lIelio" sp~ci,ll doma&•• ae<:ordi~lIlo proof;

             a           3.      As   '0   ~II   Cause. or ActiOil fo, p,,,ju~mcnl interest at Ule legal rol,,;
             9           4.      for cosls of suit herein incume<!; mill
            10           5.      A$IO the 111;,0 Cnuse of Aclinn ""fy. Reasoll'.ilile .ttorneys· rees Uild e"pe,,!O:lI Ill'
            11                   litigation, 1'0'"0".11042 U,S.C. Scctioll 1983 and 42 LUi-C. Section I'lR8;
            12           6.      For s"ch otile. and furlh... rellcf ns the Court may d""m prope•.
            13           1.      '1'0 the exl.nllh"llll" pcrsu".1 resourceS ofilia i"dividUlJI defend."t. herein arc
            14   dcJicient in th. amuullts necessary to fu,ni.l, a suitable remooy to l'l.inliff, Dcf.ndflrlt Cit)' of
            15   Upland is liable Ill. such deliciency pu.suant 10 Cali/omia Cod. § 81 5.2(a).
            16
            17   I)at.d: March 12, 2015                                LAW FIRM 01' JONAS &. DRISCOLL, ll..P

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                                                                       Ily:        ll-lJ
                                                                               Christopher Ilrisooll
                                                                               AUomeys for H.rshnd Mohtn
            21                                                                 and Kaushik. Mchtn

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                        Compiaint           "lot'    Negljgenc() and Loss of consortjum
            26                                                            9
Case 5:15-cv-01164-VAP-DTB Document 1 Filed 06/12/15 Page 14 of 14 Page ID #:14
        II

    1                                      PROOF OF SERVICE

    2        I am employed in the County of Los Angeles, State of California. I am over the
    3        age of eighteen and not a party to the within entitled action. My business address
             is 888 South Figueroa Street, Suite 1960, Los Angeles, California 90017.
    4
    5        On June 12,2015, I served the foregoing document(s) described as:
                                  NOTICE OF REMOVAL OF ACTION
    6
             upon the interested parties in this action by placing the true copies thereof enclosed
    7        in sealed envelopes addressed to the followmg persons:
    8        Christopher I, Driscoll
    9        LAW FIRM OF JONAS & DRISCOLL,
             LLP
   10        1108 Sartori Avenue, Suite 320
   11        Torrance, CA 90501
             Attorney for Plaintiffs
   12
   13        BYMAIL
              X I deposited such envelope in the mail at Los Angeles, California. The
   14           envelope was mailed with postage thereon fully prepaid.
   15
                   Executed on June 12, 2015, at Los Angeles, California.
   16
   17        FEDERAL
               X I declare under penalty of perjury under the laws of the United States of
   18
                 America that the above is true and correct.
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   24
                 Susana Guzman
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   28                                              - 1-
                                             PROOF OF SERVICE
